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EXHIBIT 2

DEF'ARTMENT OF THE TREASURY
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' WAsHlNe-"roN. D.c. acaza

 

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October31, 2014

Laurence A Berg Estate
% Laura A Ftapp

144 Corte Anita
Greenbrae, CA 94904

 

RE: Laurence A Berg Estate

Dear l\/ls. Rapp:

This is in response to your letter dated October 27, 2014. By a separate letter,-| am
addressing your request that the Service abate penaities on Form 1041 12~31~2009.

l am in receipt of Form 1041 201'0, 2011,_-and 2012. The returns were forwarded to the
service center for prccessing,

The balance due ot$58,610 is for Form»1041, -Fiduciary income Tax Return, which is
dueirom the.estate. lt has nothing to do With Mrs. Berg or her estate. The tax is due
because l\/lr. Be_rg's estate received posted oath income 0151731< in 2009-and failed to
pay the tax due on the due.date 014~15~10. Late payment penalty is assessed and
continues to accrue at %t% per month until it reaches 25% ot the tax. ’l'he estate also
incorrect penalty r'o_r late filing because the return was not filed by the extensiondate of
9-15-10. _lt Was not filed until 10-19-10, over a month pastthe extension date. li the
estate Was in possession ot'$t?_.’;il<, Why did it not pay the 1041 tax of $38,674 when the
return Was filed? | am enclosing a transcript for this tax period. ' `

When our Counsel, Attorney Grosenicl<, made the statement to the Court, he Was only
speaking about the ioint income tax returns of l\/ir. and lVlrs. Berg, Form 1040 2000,
2007, and 2008 Which Were due and owing. He was unaware ot the delinquent tax due
from Nlr._-Berg’s estate tor Form 1041 2000, Which is a separate tax matter. Obvlousiy,
the Service and the Estate were not on the same page during the conference call With
the Court. »

The S'srvi_c`e received_p_artial payments in danuary 2012 from both estates ior`the ]oint
income taxes, Form 1040, Which also included penaltieslsnd interest "I‘he S_ervice
received $101,567.24 from i\!lr. Berg's estate which full paid 1040 2007 and almost full
paid 2008, except tore minor amount of interest due_. | am enciosing'transcripts for
Forrn 1040 2006, 2001 and 200& Whlch reflect asses_srnentsl paymentsl and credits_.
P|ease note that 1040 2008 still shows a small balance due.

Exhib`lt 2 - 1

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At the time that the joint income tax was paid in danua 2012 Form 0

and 2008), the personal rep could have requested congderatio§i on tittle §§n:[l]t?e€s §g:-ftc
the death ct ivlr. and lVlrs. Berg. Had you done so, the Service would have considered
abatement of penalties that accrued aft_e; the date ot death At this time the Servi

may no longer consider abating any penalties on Form 1040 2006, 2007`, and 200§e

because the payment is more than 2 ears old A ‘ ’ ' '
years Of payment y t claim for refund must be filed within 2

l personalty did not receive any of the letters that Attorney Bul|ard sent to the Service l

did not become involved in this case until late Au u t20 1
Auomey David We]|€rl g s 14, when l was contacted by

Please be advised-that Form 1040 200012 for re~death ' '

l\/ir. Berg by the estate._ Based on information oli)i our recolr!c]ics(,)titu:i)prp:;rrsmttht;ittzietl:ivfc|)!:Fd'fo"`r
have been an overpaid return. However, the refund or offset is now barred due to
statute Ta><payers have 3 years from the due date ot the return to claim an
overpayment in this case 1040 2009 was due 4~15~10 + 3 years = 4-15-13.

l have noted that ivis. Bullard stated in one letter to the Service that we are using an
address that is more than 8 years old. Our CAi-' records (for power of attorney) dc not
have a current address for ivls. Buliard. l had sent correspondence to l\/ls. Bul|ard to 2
different addresses that l tound, and each came back undeliverable. lt is the
responsibility of the representative to ensure that heishe notifies the Service to update
the CAF record when itei'she moves to a new address

lt you have <:;uestionsl you may reach me at 414-231-2128. Our address is internal
Revenue Service, 211 W Wisconsin Avenue, Stop 5303, i\tilwaukee, W| 53203. Thani<
you for your cooperationl

Sincereiy yours,

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',’ .\ [i h s ihf't
. ' .“

l\iis. Kosmatl<a, Badge No.1000480913
Advlsor

Enclosure (»4)

Cc: Srisan Builard (w/1 enc)
Ftichard Grosenici<

EXhibit 2 - 2

